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AO 106 (Rev. 06/09) Application for a Search Warrant



                                      UNITED STATES DISTRICT C
                                                                                                 U~T NOV 15 2019
                                                                    for the
                                                        Southern District of California
                                                                                                   CU::R K '~ S DI STRICT COUR T
                                                                                                SOUTH ER 1\J DISTRICT OF CALIFOR NIA
             In the Matter of the Search of                                                     BY                            DEP UTY
        (Briefly describe the property to be searched                  )
         or identify the person by name and address)                   )
                                                                                   Case No.
                LG Cellular Telephone
     Model LM-X210MA, IMEI 357603-09-113463-5
                                                                       )
                                                                       )
                                                                       )
                                                                                               19MJ5105
           Serial number 805CYNL 113463                                )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 As described in Attachment A
located in the             Southern               District of              California           , there is now concealed (identify the
person or describe the property to be seized) :

 As described in Attachment B

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
               ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
           Code Section                                                        Offense Description
       18 U.S.C. § 545                             Smuggling and Importation
       16 U.S .C. § 1538                           Trade or Possessing Specimens Traded in Violations of CITES
       16 U.S .C. § 1540                           Engaging in Business as Importer of Fish and Wildlife Without a License
          The application is based on these facts:
        Set forth in attached affidavit

           0 Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth o n @ ~


                                                                                               Applicant's signature

                                                                                        Eduardo Nieves, FWS Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.

Date      ,,;,5"/2.o1,
City and state: San Diego, California
                                                                       ~!------                  Judge 's signature

                                                                            HON. ANDREW G. SCHOPLER, U.S. Magistrate Judge
                                                                                               Printed name and title
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                            Attachment A



The property to be searched is a b la ck LG cellular telephone model

LM-X210MA, IMEI# 357603 - 09 -11 3463 - 5 . The serial number is

805CYNL113463 .   The cellular telephone is currently in the possess i on

of the FWS, 610 Ash Street, Suite 1103 , San Diego, California .
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                             Attachment B

       The following evidence to be searched for and seized is
limited to evidence of violations of Title 18 U.S . C § 371
(Conspiracy) ;   Title 18,   U.S.C. § 545    (Smuggling/Importation
Contrary to Law); and Title 16 U.S.C. § 1538 (c) and (d) and 1540
(b) ( 1) (Unlawful Trafficking in Wildlife) , for the period from
October 1, 2019 to present :

     1.    Communications, records , or data including but not
limited to emails , text messages , photographs , audio files ,
videos , or location data:

          a.    tending to indicate efforts to import, export ,
                purchase ,    sell , transport  and/or   ship   sea
                cucumbers , and/or other wildlife protected by the
                Convention on International Trade in Endangered
                Species    (CITES) ,  including related   financial
                information ;

          b.    images of sea cucumbers and/or other wildlife
                protected by the Convention on International Trade
                in Endangered Species ;

          c.    tending    to indicate   knowledge   of  the   legal
                requirements for the purchase , sale, transport ,
                shipment , import and export of sea cucumbers and/or
                other wildlife protected by the Convention on
                International Trade in Endangered Species

          d.    tending to identify other facilities,      storage
                devices , or services- such as email addresses, IP
                addresses ,  phone     numbers - that may  contain
                electronic evidence tending to indicate efforts to
                illegally traffic in sea cucumbers;

          e.    tending   to  identify  co - conspirators,      criminal
                associates,   or   others     involved   in      illegal
                trafficking in sea cucumbers ;

          f.    tending to identify travel to or presence at
                locations where sea cucumbers were purchased , sold ,
                transported and/or delivered;




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        g.    tending to identify the user of , or persons with
              control over or access to, the subject phone ; or

        h.    tending to place in context , identify the creator
              or   recipient of,   or establish the time of
              creation or    receipt of communicat i ons , records,
              or data above.




                                  2
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 1                                          AFFIDAVIT IN SUPPORT OF
                                         APPLICATION FOR SEARCH WARRANT
 2

 3   III,       Eduardo R. Nieves , being duly sworn , depose, and state :

 4 II                                                    INTRODUCTION

 5                1.     I am a Special Agent              ("SA" ) of the United States Department

 6 ll of the Interi o r , Fish and Wildlife Service ("FWS" ) assigned to the San

 7   II   Diego , Calif o rnia , field office.                     I have been empl o yed by the FWS as a

 8   II   Special Agent since July 2011.                       During my empl o yment with the FWS,                         I

 9 ll have conducted and participated in numerous investigati o ns pertaining

10 II to violations             of      federal     and    state wildlife                 laws .         Prior to being

11   II   employed as a Special Agent , I held the position o f a Wildlife Inspector

12   II   for    FWS    from    December          2004    to       July   2011 .           I     als o    served     as    an

13 II Investigator for the Guam Attorney General ' s Office (from June 1997 to

14 II November           2004) ,      and     Conservation            Officer        (Game           Warden )    for      the

15   II   Government of Guam ' s Agriculture Department                              (fr om July 1991 to June

16 11 1997).

17                2.     As a Special Agent for the FWS ,                      I attended the FWS Special

18 II Agent Basic Training at the Federal Law Enforcement Training Center in

19 II Glynco , Ge o rgia.               The training I received included instruction on the

20 II requirements and implementation of the Convention on the International

21   II   Trade in Endangered Species of Fauna and Flora (" CITES") , including the

22 II requirements for importing and exporting species of wildlife covered by

23   II   CITES .      Training      also    included       instruction            f or        the   requirements         and

24 II implementation               of       the     Endangered            Species           Act ,        including        the

25 II requirements f o r importing and exporting species of wildlife listed as

26   II   endangered .

27                3.     This affidavit is intended to support an application by the

28 II United           States   of      America      for       a    sear c h   warrant           for      four   cellular
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 1 II telephones found in the possession of John Jaimes Torres                         (hereinafter

 2 ll "the subject phones " ) as he entered the United States from Mexico . These

 3 II phones are briefly described as :

 4 II          a.   Silver    iPhone    cellular   telephone model      A1634 ,   FCC      ID#    579C

 5      E2944A

 6             b.   Black LG cellular telephone model LGMP260 ,                IMEI#    352130 - 09 -

 7      964551 - 6 . Serial number is 711CYUU964551.

 8             c . Black LG cellular telephone model LM - X210MA ,             IMEI# 357603 - 09 -

 9 11 113463 - 5 . The serial number is 805CYNL113463.

10             d.    Bl ack   Samsung    Galaxy    cellular    telephone   model        A20 ,    IMEI#

11      355720106967460 .

12             I seek authority to search the subject phones , more fully described

13 ll in Attachment A, for items , more fully described in Attachment B, which

14 II constitute evidence of violations of federal criminal law by John Jaimes

1 5 11 Torres and others ,        relating to illegal trafficking in sea cucumbers ,

16 II that is ,      Title 18 ,   United States Code ,        Section 54 5 ,    which prohibits

17 II smuggling ,     and importation contrary to law ;            Title 16 ,     United States

18 II Code ,     Sections .1538   (c)    and (d)   and 1540(b) , which prohibit knowingly

19 ll engaging in trade o r possessing spec i mens traded in violations of the

20 II provisions of CITES , and knowing l y engaging in business as an importer

21      of fish and wildlife without a license from the U. S . Fish and Wildlife

22      Service ; and Title 18 , United States Code , Section 371 , which prohibits

23 II conspiracy to commit offenses against the laws of the United States .

24 II          4.    The facts    set for t h in this affidavit are based on my own

25 II personal knowledge , knowledge obtained from other individuals during my

2 6 II participation in this investigation ,             including other law enforcement

27 II officers in the United States and Mexico , and information gained through

28 li my training and experience .            Because this affidavit is submitted for
                                                     2
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 1   II   the limited purpose of establishing probable cause in support of the

 2 II app l ication for a search warrant , it does not set forth each and every

 3   II   fact     that     I   or   others     have     l earned        during     the   course     of    this

 4   II   invest i gation .

 5   II          5.       Sea cucumbers are aquatic inver t ebrates and are members of

 6   II   the class        Holothuroidea      (not     the   classes       defined as      fish) ,   and are

 7 II regulated in the United States as wildlife , not fishery products.

 8                                            APPLICABLE U.S. LAWS

 9

10               6.       In addition to smuggling (or failing to declare merchandise) ,

11   II   Section 545 of Title 18 of the United States Code also prohibits the

12   II   fraudulent or knowing importation of merchandise from the United States

13 II contrary to any U.S . law or regulation (provided that there is a statute

14   II   specifying that a violation of the regulation is a crime) ,                              or in any

1 5 II manner facilitating the transpo r tation ,                      or sale of such merchandise ,

16 II knowing it was imported contrary to law .

17   II          7.       The    Endangered      Species         Act ,     Sections       1538 ( c) ( 1)    and

18111540(b) (1) of Title 1 6 o f the United States Code , prohibits engaging i n

19   II   trade in a species covered by the Convention on International Trade in

20 II Endangered Species (CITES) contrary to the provisions of the agreement.

21   II   The    regulations         prohibit    the     import ,        export ,    re - export     and    any

22   II   international trade in a species covered by CITES unless in compliance

23 ll with the regulations .                  50 C.F . R. § 23 .1 3(a) .            In order to lawfully

24   II   export      a   species    covered by CITES ,          the     exporter must       obtain ,      at   a

25 ll minimum, a CITES Export Permit from the U. S . Fish and Wildlife Service

26   II   (" FWS " ).     50 C . F . R . §§ 23.20 (e) and 23.36 .         The United States and Mexico

27 II are all signatories to CITES . Only one sea cucumber species found in

28 II Mexico , Isostichopus fuscus , is listed in CITES , on Appendix III .
                                                             3
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 1               8.      Import/export            licenses    from     the         FWS       are     required     for    the

 2 II commercial importation and exportation of fish and wildlife , pursuant

 3 ll to 16 U. S . C.          §   1538(d) (1) , and 50 C. F . R.          §       14 . 91.         Fish and Wildlife

 4 II regulat i ons           create     a       rebuttable    presumption                   that    more     than   eight

 5 II spec imens of any single species constitutes a commercial quantity .                                                50

 6 II CFR    §     1 4 . 4.        Federal regulations further require that a declaration

 7 II form        ( Form 3- 177)       be presented to FWS with each import and export ,

 8 ll pursuant to 50 C. F.R.                 §   14.61 and 50 C.F . R.         §    14 . 63, respectively .              The

 9 II Form        3 - 177     requires       information       to    be   provided ,                under     penalty     of

10 II perjury , regarding the name and address of the importer and exporter,

11 II the FWS import/export permit number ,                          the name of the transporter and

12 II the Customs broker , and the scientific and common name of the species

13 II involved , as well as the quantity , value , and country of origin.                                                 In

14 II addition ,          to obtain Customs clearance of wildlife exported from the

15 II United States (required for a lawful export) , an exporter must provide

16 ll to     FWS        all    permits       or    other     documents         required              by     the   laws    or

17 ll regulations of any foreign country .                          50 C. F . R.         §    14.52(c) (3) .

18                                       STATEMENT OF PROBABLE CAUSE

19               9.      On November 13 ,           2019 ,    at approximately 11 : 00 am ,                       defendant

20   John Jaimes Torres (Torres) entered the United States from Mexico at the

21   Otay Mesa Port of Entry , as the driver and sole occupant of a 2003 F150

22   Ford pickup , registered to him.                        At the primary inspection area , Torres

23   twice stated he had nothing to declare from Mexico.                                            The primary officer

24   conducted a vehicle search and found multiple sealed bags containing

25   dried sea cucumbers concealed within the vehicle .

26               10 .    Torres was referred to vehicle secondary, where he told the

27   Agriculture Specialist that a friend gave him the bag of sea cucumbers .

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 1   II   The Agriculture specialist inquired if Torres had more than o ne bag of

 2   II   sea cucumbers , to which Torres responded "no".

 3             11.     In the secondary inspection area ,        inspectors found numerous

 4 II packages of dried sea cucumbers concealed in the vehicle .               Three packages

 5   II   were found in an orange toolbox , located within the back of the pickup

 6 ll bed . Eight packages were found in a brown toolbox ,                located within the

 7   II   back of the pickup bed.      Twenty packages were found inside a "KNAACK"

 8 II toolbox         concealed   underneath   three   plastic    tubs.     Three   additional

 9   II   plastic tubs were l ocated inside the         "KNAACK" toolbox,       two of which

10 II contained fourteen packages and the other contained fifteen packages.

11   II   Fourteen more packages were found below "KNAACK" toolb o x , and thirteen

12 II packages were discovered behind rear seats fact o r y compartment panel,

13 II totaling 1 01 packages , weighing approximately 145 kgs. In addition , some

14 ll of the areas in which the sea cucumbers were concealed were secured by

15   II   locks with keys found on TORRES key ring for his v ehicle.

16             12 .    No CITES documentation or FWS import/export license related

17 ll to the sea cucumber was located.            The sea cucumbers were identified by
                                                                     '

18 Il a Wildlife Inspector at the Port of Entry as of the species Isostichopus

19 II fuscus.         A check of the records of . the FWS indicated that there was no

20   II   record of a license from the FWS to import or export fish or wildlife

21 II issued to defendant Torres at any time .

22             13 .    After advisement of his Constitutional rights, Torres waived

23 II his rights in writing and claimed that he had never seen sea cucumbers

24 II before , and was trying to do a favor for a friend.                 TORRES conf irmed he

25 II did not declare the sea cucumbers.               When asked how many bags of sea

26 ll cucumbers he had , Torres stated "two or three."               Torres acknowledge he

27   II   owned the vehicle. Torres said he was only going to be paid $20.00 USD ,

28 II although he had $1682.00 USD in his possession .
                                                  5
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 1 11        14 .    On November 13, 2019 , I took custody of the phone and the sea

 2 II cucumbers seized from Torres.                Based on my experience and training,                 I

 3 II believe       the   sea   cucumbers     seized       from       Torres     is   of   the   species

 4 II Isostichopus        fuscus,   which is protected under Appendix III of CITES.

 5 II Federal regulations require that a CITES certificate from the country

 6 ll of origin be presented at the time of importation for all species covered

 7 ll by CITES.       50 CFR §23.13(a) .      Torres had no CITES paperwork with him at

 8 II the time of importation.

 9           15.     I caused a check to be made of the records of the U.S.                          Fish

10      and Wildlife Service and learned that Torres had no license to import

11 II commercial quantities of sea cucumbers.                        Federal regulations establish

12 Ila    rebuttable       presumption      that    eight       or    more     similar     unused   items

13 II constitute a commercial quantity .              50 CFR §14 . 4.          The approximately 145

14 II kilograms imported by Torres in November of 2019 consisted of well in

15 II excess of eight individual specimens .

16           16.     At   the   time   he   entered       the   United       States   from    Mexico   on

17      November 13 , 2019 , Torres was in possession of four cellular telephones

18      described as follow :

19           a. Silver iPhone , model Al634 , FCC ID# 579C E2944A ,

20 11        b . Black LG model LGMP260, IMEI# 352130-09-964551-6 . Serial number

21      is 711CYUU964551 .

22           c . Black LG model LM-X210MA,            IMEI# 357603-09-113463 - 5. The serial

23      number is 805CYNL113463 .

24           d.     Black Samsung Galaxy model A20 , IMEI# 355720106967460.

25 II        While he was being interviewed at the Port of Entry, Torres received

26 ll multiple cellular calls from a Mexican phone number identified in his

27   II contacts    as belonging to "Cisco."

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 1 II        17 .     Based on my exper ien ce and training ,                       and conversations with

 2 II others involved in enforcement of laws pertaining t o fish and wildlife ,

 3 II I know that people invo lved in illegal trafficking in fish and wildlife ,

 4 II and sea cucumbers in particular , frequently send photographs o f the sea

 5 II cucumbers or other wildlife to others , to demonstrate the species , size

 6l l and quality of the product . Persons trafficking in fish and wildlife ,

 7 !land sea cucumber in particular , are also known to send photographs , text

 8 II messages        and   emails       to      others     regarding     shipments         of    sea    cucumber ,

 9 II prices , transportation and de li ve r y arrangements , as well as records of

10 II financ i al transactions involving the wildlife products .                                   Such persons

11 II also are known to conduct internet research and save documents regarding

12 II the    legal      requirements           for    the    purchase      sale ,    transport ,         shipment ,

13 II import      and      export    of       wildlife       products .    Based      on     my   training      and

14 II experience , and conversations with other law enforcement agents , I know

15 II that commerc ial dealers in marine species post images of their products

16 II on    the     internet       and     send      images       and   messages     via     email ,      Facebook

17      Messenger ,     WhatsApp ,         and    other      social     media   platforms          to   potential

18      customers     to    facilitate           sales,     which are      found     on cell phones .            In

19 II particular , with respect to in ternationa l                        sales ,    I    know that business

20      is conducted via electronic mail and cell phones , including transmission

21      of invoices and records of payment and shipping records ,                                   in order to

22      facilitate      the       international           transactions.         I     know       that    in   other

23 II investigations          I     have       seen       shipping      records,         receipts ,      financial

24 II records , and documents sent via email , text messages and apps found on

25 II cell    phones .        I     also      know    that    such      businesses        contact       regulatory

26 II agencies       (federal , state , local and for e ign ) via email and cell phone ,

27 11 seeking and providing information and documentation .                                   Such businesses

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                                                              7
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 1   II   are also known to send and receive via email on links accessed via cell

 2   II   phones to informational sites on the internet relevant to their business .

 3   II         18 .    Based on my experience and training in working international

 4 II wild li fe        trafficking        investigations ,      I   know   that       individuals     must

 5 II commun i cate well in advance with vendors , brokers , freight forwarders ,

 6   II   travel agents , and trans-shippers to coordinate the l ogistics , invoices ,

 7   II   bills of lading , flights , and payments of international shipments , and

 8   II   for purchasers to make arrangements to meet with suppliers and determine

 9   II   what merchandise is available .              For this       reason ,    I    believe there is

10   II   probable cause to believe that there is relevant data on the subject

11   II   phone beginning on or about October 1 , 2019 .

12   II                                       Cellular Telephone

13   II         19 .    It is not possible to determine , merely by knowing the cellular

14   II   telephone ' s    make ,   model    and   serial      number ,   the    nature      and types   of

15 II services to which the device is subscribed and the nature of the data

16   II   stored on the device .            Cellular devices today can be simple cellular

17 ll telephones and text message devices , can include cameras , can serve as

18   II   personal digital assistants and have functions                        such as calendars and

19   II   full address books and can be mini - computers allowing for electronic

20 ll mail       services ,     web    services     and     rudimentary     word       processing .      An

21   II   increasing      number      of    cellular      service    providers         now   allow    their

22 II subscribers to access their device over the internet and remotely destroy

23        all of the data contained on the device .                   For that reason , the dev i ce

24        may only be powered in a secure environment or , if possible, started in

25   II   "flight mode ," which disables access to the network .                          Unlike typ i cal

26   II   computers ,     many cellular telephones do not have hard drives or hard

27   II   drive equivalents and store information in volatile memory within the

28   II   device or in memory cards inserted i nto the device .                       Current technology
                                                           8
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 1 II provides some solutions for acquiring some of the data stored in some

 2 II cellular telephone models using forensic hardware and software.                                Even

 3 ll if         some    of   the   stored   information     on    the   device     may    be   acquired

 4 II forensically , not all of the data subject to seizure may be so acquired .
 5 II For devices that are not subject to forensic data acquisition or that

 6   II   have    potentially       relevant    data    stored    that   is   not   subject     to   such

 7 II acquisition ,           the examiner must inspect the device manually and record

 8   II   the process and the results using digital photography.                      This process is

 9 II time, labor intensive, and may take weeks or longer.

10   II           20.    Following the issuance of this warrant ,               I will collect the

11   II   subject cellular telephone and subject it to analysis.                           All forensic

12 II analysis of the data contained within the telephone and its memory cards

13   II   will employ search protocols directed exclusively to the identification

14   II   and extraction of data within the scope of this warrant.

15   II           21 .   Based on the foregoing , identifying and extracting data for a

16   II   cellular       telephone    subject   to     seizure pursuant       to    this   warrant   may

17   II   require a range of data analysis techniques,                   including manual review ,

18   II   and,    consequently , may take weeks or months.               The personnel conducting

19   II   the identification and extraction of data will complete the analysis

20   II   within ninety (90) days , absent further application to this court , and

21   II   the cellular phone will be returned to its owner .

22        II
23        II
24        II
25        //

26        II
27        //

28        II
                                                         9
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 1                                         CONCLUSION

 2             22.   Based on the foregoing , there is probable cause to believe the

 3 II items identified in Attachment B constitute evidence of violations of

 4 II Title 18,      United States Code,   §§ 371 ,   545 and Title 16,   United States

 5 II Code ,    §§1538 and 1540,   and will be found on the cellular telephone to

 6   be searched as described in A t t a c h m e n t ~             __p
 7
                                                Eduardo Nieves
 8
                                                Special Agent, USFWS OLE
 9

10

11
     Subscribed and sworn to before me this           l5~ay    of November 2019


12

13
     UNITED STATES MAGISTRATE JUDGE
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